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                                                    U.S. Department of Justice

                                                    Andrew E. Lelling
                                                    United States Attorney
                                                    District of Massachusetts


Main Reception: (617) 748-3100                      John Joseph Moakley United States Courthouse
                                                    1 Courthouse Way
                                                    Suite 9200
                                                    Boston, Massachusetts 02210

                                                    June 30, 2020

Susan G. Winkler, Esq.
Winkler Law, LLC
120 Holmes Street, Unit 313
Quincy, Massachusetts 02171

       Re:      United States v. Philip Cooke
                Criminal No. 20-

Dear Counsel:

        The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and your
client, Philip Cooke (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(B):

       1.       Change of Plea

       Defendant will waive Indictment and plead guilty to an Information charging him with
conspiracy to commit cyberstalking, in violation of 18 U.S.C. § 371 (Count 1), and conspiracy to
commit witness tampering, in violation of 18 U.S.C. § 371 (Count 2). Defendant admits that he
committed the crimes specified in the Information and is in fact guilty of these crimes.

       2.       Penalties

         Defendant faces the following maximum penalties on each count: incarceration for 5 years;
supervised release for 3 years; a fine of $250,000; a mandatory special assessment of $100;
restitution; and forfeiture to the extent charged in the Information.

       3.       Sentencing Guidelines

      The U.S. Attorney will take the position, based on the following calculations, that
Defendant’s total “offense level” under the Guidelines is 21.
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       The parties agree that Count 1 (for cyberstalking conspiracy) and Count 2 (for obstruction
conspiracy) group as closely related counts. USSG §§3C1.1, Application Note 8 and 3D1.2(c).

       The parties agree that, because Count 1’s cyberstalking conspiracy involved two victims,
Victim 1 and Victim 2, the grouped count is divided into two Groups for sentencing purposes.
USSG §3D1.2, Application Note 8.

        The U.S. Attorney will take the position that the following calculations are appropriate as
to each group:

       Victim 1 Group

               a) Defendant’s base offense level is 18 (USSG §§2X1.1, 2A6.2(a));

               b) Defendant’s offense level is increased by 2 levels, because the offense involved
                  a pattern of activity involving threatening and harassing Victim 1 (USSG
                  §2A6.2(b)(1));

               c) Defendant’s offense level is increased by 2 levels, because Defendant willfully
                  obstructed and impeded, and attempted to obstruct and impede, the
                  administration of justice with respect to the investigation of the cyberstalking
                  conspiracy (USSG §3C1.1); and

The offense level applicable to the Victim 1 Group is 22 (USSG §3D1.3).

       Victim 2 Group

               a) Defendant’s base offense level is 18 (USSG §§2X1.1, 2A6.2(a));

               b) Defendant’s offense level is increased by 2 levels, because the offense involved
                  a pattern of activity involving threatening and harassing Victim 2 (USSG
                  §2A6.2(b)(1));

               c) Defendant’s offense level is increased by 2 levels, because the defendant
                  willfully obstructed and impeded, and attempted to obstruct and impede, the
                  administration of justice with respect to the investigation of the cyberstalking
                  conspiracy (USSG §3C1.1); and

The offense level applicable to the Victim 2 Group is 22 (USSG §3D1.3).

     The combined offense level for the Victim 1 Group and the Victim 2 Group is 24.
(USSG §3D1.4).

        Defendant agrees with the above calculations, except that Defendant reserves the right to
argue that neither the Victim 1 Group nor the Victim 2 Group should receive an enhancement for

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a pattern of activity involving threatening and harassing.

      The parties agree that Defendant’s combined offense level is decreased by 3 levels, because
Defendant has accepted responsibility for Defendant’s crimes (USSG §3E1.1).

       Defendant understands that the Court is not required to follow this calculation, and that
Defendant may not withdraw his guilty plea if Defendant disagrees with how the Court calculates
the Guidelines or with the sentence the Court imposes.

        Defendant also understands that the government will object to any reduction in his sentence
based on acceptance of responsibility if: (a) at sentencing, Defendant (himself or through counsel)
indicates that he does not fully accept responsibility for having engaged in the conduct underlying
each of the elements of the crimes to which he is pleading guilty; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

       If, after signing this Agreement, Defendant’s criminal history score or Criminal History
Category is reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.

       Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

       4.      Sentence Recommendation

       The U.S. Attorney agrees to recommend the following sentence to the Court:

               a) incarceration for 30 months, or, if the Court adopts a Guidelines calculation
                  resulting in a lower total offense level than that posed by the U.S. Attorney, at
                  the low end of the Guidelines sentencing range as calculated by the Court;

               b) a fine within the Guidelines sentencing range as calculated by the parties, unless
                  the Court finds that Defendant is not able, and is not likely to become able, to
                  pay a fine;

               c) 12 months of supervised release;

               d) a mandatory special assessment of $200, which Defendant must pay to the Clerk
                  of the Court by the date of sentencing; and

               e) restitution in an amount to be determined at sentencing.

       Defendant reserves the right to argue for any departure from the Guidelines that is not
inconsistent with the agreed upon Guidelines calculation above, or for a variance, and the U.S.
Attorney reserves the right to oppose such arguments.

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       5.        Waiver of Appellate Rights and Challenges to Conviction or Sentence

        Defendant has the right to challenge his conviction and sentence on “direct appeal.” This
means that Defendant has the right to ask a higher court (the “appeals court”) to look at what
happened in this case and, if the appeals court finds that the trial court or the parties made certain
mistakes, overturn Defendant’s conviction or sentence. Also, in some instances, Defendant has
the right to file a separate civil lawsuit claiming that serious mistakes were made in this case and
that his conviction or sentence should be overturned.

       Defendant understands that he has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

                 a) He will not challenge his conviction on direct appeal or in any other proceeding,
                    including in a separate civil lawsuit; and

                 b) He will not challenge any prison sentence of 46 months or less or any court
                    orders relating to forfeiture, restitution, fines or supervised release. This
                    provision is binding even if the Court’s Guidelines analysis is different than the
                    one in this Agreement.

       The U.S. Attorney agrees that, regardless of how the Court calculates Defendant’s
sentence, the U.S. Attorney will not appeal any sentence of imprisonment of 30 months or more.

         Defendant understands that, by agreeing to the above, he is agreeing that his conviction
and sentence (to the extent set forth in subparagraph (b), above) will be final when the Court issues
a written judgment after the sentencing hearing in this case. That is, after the Court issues a written
judgment, Defendant will lose the right to appeal or otherwise challenge his conviction and
sentence (to the extent set forth in subparagraph (b), above), regardless of whether he later changes
his mind or finds new information that would have led him not to agree to give up these rights in
the first place.

      Defendant acknowledges that he is agreeing to give up these rights at least partly in
exchange for concessions the U.S. Attorney is making in this Agreement.

        The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that his lawyer rendered ineffective assistance of counsel, or that the prosecutor or a member
of law enforcement involved in the case engaged in intentional misconduct serious enough to
entitle Defendant to have his conviction or sentence overturned.

            6.   Civil Liability

        This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to his criminal conduct and guilty plea to the charges
specified in Paragraph 1 of this Agreement.

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         7.    Breach of Plea Agreement

        Defendant understands that if he breaches any provision of this Agreement, Defendant
cannot use that breach as a reason to withdraw his guilty plea. Defendant’s breach, however, would
give the U.S. Attorney the right to be released from his commitments under this Agreement, and
would allow the U.S. Attorney to pursue any charges that were, or are to be, dismissed under this
Agreement.

        If Defendant breaches any provision of this Agreement, the U.S. Attorney would also have
the right to use against Defendant any of Defendant’s statements, and any information or materials
he provided to the government during investigation or prosecution of his case. The U.S. Attorney
would have this right even if the parties had entered any earlier written or oral agreements or
understandings about this issue.

        Finally, if Defendant breaches any provision of this Agreement, he thereby waives any
defenses based on the statute of limitations, constitutional protections against pre-indictment delay,
and the Speedy Trial Act, that Defendant otherwise may have had to any charges based on conduct
occurring before the date of this Agreement.

         8.    Who is Bound by Plea Agreement

         This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

         9.    Modifications to Plea Agreement

       This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.

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       If this letter accurately reflects the agn.:cmcnt between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this lt:ttcr to Assistant U.S. Attorneys David D'Addio and
Seth Kosto.

                                                     Sincerely.

                                                     ANDREW E. LEI.LING



                                             By:
                                                         '.Pl IEN 1-:. FRANK
                                                      Chier. Securities. Financial & Cybcr fraud Unit



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                                                      Assistant U.S. Attorneys




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